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                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         APR 18 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
STATE OF ARIZONA; et al.,                       No.   21-16118

                Plaintiffs-Appellants,          D.C. No. 2:21-cv-00186-SRB
                                                District of Arizona,
 v.                                             Phoenix

U.S. DEPARTMENT OF HOMELAND                     ORDER
SECURITY; et al.,

                Defendants-Appellees.

Before: TALLMAN, CHRISTEN, and NGUYEN, Circuit Judges.

      The petition for panel rehearing (Docket Entry No. 54) is granted.

      The January 21, 2022 order dismissing this appeal is amended to include

vacatur of the district court’s June 30, 2021 order denying appellants’ motion for

preliminary injunction and August 12, 2021 order denying appellants’ motion for

reconsideration. The district court’s June 30, 2021 and August 12, 2021 orders are

vacated. See United States v. Munsingwear, 340 U.S. 36 (1950).




AC/MOATT
